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-v- 02-10026-01-T " 5 »;{Z§'§ch,@/
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JACK|E L. ELL|OTT

Jon York, Appointed
Defense Attorney

106 Stonebridge B|vd.
Jackson, TN 38305

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or Af'ter November 1, 1987)

The defendant was found guilty on Count 1 of the indictment on November 13, 2002.

Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Offense Count
Tit|e & Section N_L!L§.LM Conc|uded Number(s)

 

18 USC §922(9) Convicted Fe|on in Possession of a 02/22/2002 1
Firearm

The defendant is sentenced as provided in the following pages of this judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 12/24/1956 August 3, 2005
Deft's U.S. lVlarshal No.: 18243*076

Defendant’s l\/lai|ing Address:
2525 Joe Horton Road
Huron, TN 38354

Q§Vme-Q-MM

JA|V|E D. TODD
CH|E UN|TED STATES DISTR|CT JUDGE

Thlsdocummmdonhdodmmlnoompttano¢ August % ’ 2005
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Case No: 1:020r10026-01-T Defendant Name: Jackie L. Elliott Page 2 of 5
lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 180 Months.

The Court recommends to the Bureau of Prisons:

The defendant is remanded to the custody of the United States |V|arshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES lVlARSHAL
By:

 

Deputy U.S. l\/larshal

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Case No: 1:020r10026-01-T Defendant Name: Jackie L. Elliott Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test Within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SEON

1. the defendant shall not leave the judicial district without the permission of the court or probation officer;

2. the defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. the defendant shall answer truthful all inquiries by the probation officer and follow the instructions of the
probation officer;

4. the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. the defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. the defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. the defendant shall not frequent places where controlled substances are illegally so|d, used, distributed,
or administered;

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8. the defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. the defendant shaii permits probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law
enforcement officer;

11. the defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. as directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shaii permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Nionetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Ofticer for treatment of narcotic addiction or drug or
alcohol dependency which may include testing for the detection of substance use or
abuse.

2. The defendant shall assist the probation office in the collection of DNA as directed
by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shaii
pay interest on any fine or restitution of more than $2,500, uniess the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Restitution
$100.00

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The Special Assessment shall be due immediately.
FlNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 125 in
case 1:02-CR-10026 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

.1 ames W. PoWell

U.S. ATTORNEY'S OFFICE
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Ste. 300

Jackson7 TN 38301

.1 on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable .1 ames Todd
US DISTRICT COURT

